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UNITED STATES DISTRICT COURT
SOUTHERN DISTR ICT OF NEW YORK

 JAMES DIAZ,
                                Movant,                        1:20-CV-8541 (WHP)

                    -against-                                 1:17-CR-0021-02 (WHP)
 UNITED STATES OF AMERICA,                           ORDER TO ANSWER, 28 U.S.C. § 2255
                                Respondent.

WILLIAM H. PAULEY III, United States District Judge:

       The Court, having concluded that the motion brought under 28 U.S.C. § 2255 should not

be summarily denied as being without merit, hereby ORDERS that:

       The Clerk of Court shall electronically notify the Criminal Division of the U.S.

Attorney’s Office for the Southern District of New York that this order has been issued.

       Within sixty days of the date of this order, the U.S. Attorney’s Office shall file an answer

or other pleading in response to the motion. Movant shall have thirty days from the date on

which Movant is served with Respondent’s answer to file a response. Absent further order, the

motion will be considered fully submitted as of that date.

       All further papers filed or submitted for filing must include the criminal docket number

and will be docketed in the criminal case. A copy of this order will be mailed by Chambers to

the movant.

SO ORDERED.

 Dated:    October 20, 2020
           New York, New York
